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Group, Inc.



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                              )
AMPLIFY EDUCATION, INC.,                      )
                                              )
               Plaintiff,                     )
                                              )
               v.                             )
                                              ) Civil Action No. 1:13-cv-02687-LTS-RLE
GREENWOOD PUBLISHING GROUP,                   )
INC. D/B/A HEINEMANN,                         ) JURY TRIAL DEMANDED
                                              )
               Defendant.                     )
                                              )
                                              )
                                              )

                      PATENT LOCAL RULES 3-1: DISCLOSURE OF
                           INFRINGEMENT CONTENTIONS

       Pursuant to the October 25, 2013 Pre-Trial Scheduling Order, Rule 6 of the Local Patent

Rules for the Southern District of New York, and Rule 3-1 of the Local Rules of Practice for

Patent Cases before the United States District Court for the Northern District of California

(“Patent L.R.”) (which the Court has ordered the parties to follow in this case), Defendant

Greenwood Publishing Group, Inc. d/b/a Heinemann (“Heinemann”) makes the following
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Disclosure of Asserted Claims and Infringement Contentions to Plaintiff Amplify Education, Inc.

(“Amplify”).

       Consistent with Patent L.R. 3-6, Heinemann expressly reserves the right to amend this

disclosure as additional information becomes available during discovery and as further analysis

is performed. Notably, Heinemann served Requests for Production (“RFPs”) on Amplify on

November 8, 2013, but Amplify has yet to produce any documents. For example, Heinemann’s

RFPs include requests for two fully functioning samples of the accused Amplify mCLASS

assessment products, source code, and programming guides sufficient to explain the

functionality of the accused Amplify mCLASS assessment products. Amplify has not yet

produced any of this information. Particularly, Heinemann expressly reserves the right to amend

this disclosure to satisfy 35 U.S.C. § 112(6) once Amplify produces evidence related to the

structure of Amplify’s products and pursuant to the Markman order.

   A. Asserted Claims

       Amplify has been and is infringing, contributing to infringement, and/or inducing others

to infringe the following claims, literally and under the doctrine of equivalents, of U.S. Patent

No. 6,299,452 (“the ’452 patent”):


        Patent                               Asserted Claims

        U.S. Patent No. 6,299,452            1-68 (35 U.S.C. § 271(a), (b), and (c))

   B. Accused Amplify Products

       The following list of accused Amplify products is based on information that Heinemann

has at this stage of the litigation. Heinemann thus reserves the right to revise and to supplement

this list as discovery progresses. Moreover, to the extent Amplify has products in development

that operate in a manner similar to the products identified below, Heinemann anticipates
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supplementing this list with these products in development as information about these products is

made available to Heinemann through discovery.

       Heinemann accuses Amplify’s Tablet, Burst®: Reading, mCLASS®: DIBELS (Dynamic

Indicators of Basic Early Literacy Skills) Next®/IDEL®, mCLASS®: CIRCLE™, mCLASS®:

TPRI®/Tejas LEE®, and mCLASS®: Reading 3D™ products of infringing the claims of the ’452

patent, as provided in the table below. Heinemann reserves the right to amend this disclosure as

additional information becomes available during discovery and as further analysis is performed.


        Amplify Product                              Asserted Claims

        Tablet                                       18-34, 52-68

        Burst®: Reading                              1, 4-18, 21-35, 38-52, 55-68

        mCLASS®: DIBELS Next®/IDEL®                  1, 4, 8, 9, 11-13, 15, 16, 18,
                                                     21, 25, 26, 28-30, 32, 33, 35,
                                                     38, 42, 43, 45-47, 49, 50, 52,
                                                     55, 59, 60, 62-64, 66, 67

        mCLASS®: CIRCLE™                             1-4, 15, 18-21, 32, 35-38, 49,
                                                     52-55, 66

        mCLASS®: TPRI®/Tejas LEE®                    1, 4, 8, 9, 11, 13, 14, 16-18,
                                                     21, 25, 26, 28, 30, 31, 33-35,
                                                     38, 42, 43, 45, 47, 48, 50-52,
                                                     55, 59, 60, 62, 64, 65, 67, 68

        mCLASS®: Reading 3D™                         1, 4, 17, 18, 21, 34, 35, 38,
                                                     51, 52, 55, 68

       A claim chart is provided for these products in Exhibit A.

   C. Claim Chart

       The claim chart attached hereto as Exhibit A identifies where each element of the asserted

claims is present within each of the charted products. Heinemann will supplement Exhibit A



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once Amplify complies with its discovery obligations and produces the full range of information

that Heinemann has requested.

       Exhibit A includes citations to certain illustrative supporting evidence. This evidence is

merely exemplary, providing Amplify with notice of where each element of the claims may be

found in the accused products, along with notice how the accused products infringe the asserted

claims, and Heinemann reserves the right to rely on additional evidence in support of its

contentions.

   D. Inducement and Contributory Infringement

       Heinemann alleges that Amplify infringes the asserted claims of the ’452 patent directly

through, e.g., making, using, offering to sell, and/or selling accused products and devices

incorporating the accused products.

       Heinemann also alleges that Amplify indirectly infringes the asserted claims of the ’452

patent by contributing to infringement and/or inducing others to infringe. On information and

belief, third parties such as ASUSTeK Computer Inc. directly infringe, e.g., by using the accused

products and making, using, offering for sale, and/or selling systems that include the accused

products as a component. Furthermore, Amplify has encouraged its customers to purchase and

to use the accused products identified above—and Amplify has known or should have known

that it thereby has been inducing infringement of the ’452 patent.

       The accused products are especially made or especially adapted for use in infringing the

identified claims. These instrumentalities are not staples or commodities of commerce, and have

no substantial use other than in infringing the identified claims. Amplify is thus contributing to

infringement by its manufacturers, e.g., ASUSTeK Computer Inc., and by its customers.

   E. Literal Infringement and Doctrine of Equivalents


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         Heinemann contends that the asserted claims of the patents-in-suit are infringed literally

by the accused Amplify products. To the extent Amplify alleges that any given element of the

above-identified claims is not literally present in the accused Amplify products, Heinemann

contends that any alleged differences between such claim element and Amplify’s accused

products are insubstantial. Amplify’s accused products perform substantially the same function,

in substantially the same way, to yield substantially the same result as the asserted claims, and

therefore also infringe under the doctrine of equivalents. Heinemann reserves the right to assert

a theory of infringement of any claim under the doctrine of equivalents following claim

construction.

    F. Priority Date

         The ’452 patent was filed as U.S. Patent Application 09/350,791 on July 9, 1999, and

thus claims 1-68 are entitled to a priority at least as early as this date.

    G.     Practicing Heinemann Products

         Heinemann’s Earobics® line of software products practice at least claims 1, 4, 7-18, 21,

24-35, 38, 41-52, 55, and 58-68 of the ’452 patent.

    H. Willfulness

         Heinemann alleges that Amplify’s continued infringement following the initiation of this

action has been willful. Amplify’s infringement has been willful because it has continued to act

despite an objectively high likelihood that those actions constituted infringement of a valid

patent, and this objectively-defined risk was either known or so obvious that it should have been

known to Amplify.




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                PATENT LOCAL RULE 3-2: DOCUMENT PRODUCTION
                         ACCOMPANYING DISCLOSURE

       Heinemann has produced those non-privileged documents in its possession, custody, or

control that Heinemann has identified, through a diligent search, as responsive to Patent L.R. 3-

2(a)-(e). Heinemann’s discovery and investigation in this matter is continuing, however, and

Heinemann thus reserves the right to supplement its production with further responsive

documents revealed through its investigation.

   A. Documents Regarding Public Disclosures and/or Offers For Sale

       At the present time, Heinemann is not aware of any documents responsive to Patent

Local Rule 3-2(a).

   B. Documents Regarding Conception, Reduction to Practice, Design, and Development
      of Each Claimed Invention

       At the present time, Heinemann is not aware of any documents responsive to Patent

Local Rule 3-2(b).

   C. File History for Patent-In-Suit

       Heinemann has produced the file history of the ’452 patent at HEIN00000001-

HEIN00000259.

   D. Documents Evidencing Ownership of the Patents-In-Suit

       In addition to the file history documents identified above, Heinemann has produced

documents responsive to Patent L.R. 3-2(d) at HEIN00000260-HEIN00000272.

   E. Documents Regarding Practicing Heinemann Products

       Heinemann has produced documents responsive to Patent L.R. 3-2(e) at HEIN00000273-

HEIN00000597.




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DATED: December 24, 2013            /s/ Cosmin Maier
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